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                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF COLUMBIA
____________________________________
                                     :
UNITED STATES OF AMERICA             :
                                     :    Criminal No. 21-670 (CJN)
                                     :
v.                                   :
                                     :
STEPHEN K. BANNON,                   :
                                     :
            Defendant.               :
____________________________________:


                               INDEX TO EXHIBITS
                     Motion To Dismiss The Indictment [Doc. 58]
 Docket Entry   Exhibit Number                            Title
     58-1            Ex. A     H. Res. 8 (Adoption of Rules for 117th Congress)
     58-2            Ex. B     H. Res. 503 (Authorizing House Select Committee)
     58-3            Ex. C     Regulations For Use Of Deposition Authority (Jan. 4,
                               2021)
     58-4            Ex. D     Amerling and Letter FBI 302 (November 10, 2021)
     58-5            Ex. E     Rules of the 117th Congress (Feb. 2, 2021)
     58-6            Ex. F     Republican Conference Rules of the 117th Congress
     58-7            Ex. G     Congressional Oversight of the White House, 45 Op.
                               O.L.C. slip op. (Jan. 8, 2021)
     58-8            Ex. H     Assertion of Executive Privilege Concerning the
                               Dismissal and Replacement of U.S. Attorneys (June 27,
                               2007)
     58-9            Ex. I     Immunity of Former Counsel to the President from
                               Compelled Congressional Testimony, 43 Op. O.L.C. slip
                               op. (July 10, 2007)
    58-10            Ex. J     Prosecution for Contempt of Congress of an Executive
                               Branch Official Who Has Asserted a Claim of Privilege,
                               8 Op. O.L.C. 101 (1984)
    58-11            Ex. K     Whether the Department of Justice May Prosecute White
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                               65 (2008)
    58-12            Ex. L     Application of 28 U.S.C. Sec. 458 to Presidential
                               Appointments of Federal Judges, 19 Op. O.L.C slip op.
                               (December 18, 1995)
    58-13           Ex. M      Randolph D. Moss, Executive Branch Legal
                               Interpretation: A Perspective from the Office of Legal
                               Counsel, 52 Admin. L. Rev. 1303 (2000)
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58-14         Ex. N      Testimonial Immunity Before Congress of the Former
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                         2019)
58-15         Ex. O      Response to Congressional Requests for Information
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                         Counsel Act, 10 Op. O.L.C. 68 (1986)
58-16         Ex. P      Letter from Ronald C. Machen Jr., U. S. Attorney, to
                         Speaker John A. Boehner (Mar. 31, 2015) (re Lois G.
                         Lerner, former Director, Exempt Organizations, IRS)
58-17         Ex. Q      Letter from Michael B. Mukasey, Attorney General, to
                         Speaker of the House, Hon. Nancy Pelosi (Feb. 29, 2008)
                         (re Joshua Bolten, Chief of Staff, and Harriett Miers,
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58-18         Ex. R      Steven G. Bradbury, Memorandum for Attorneys of the
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58-19         Ex. S      Trevor W. Morrison, Stare Decisis in the Office of Legal
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58-20         Ex. T      Walter Dellinger, et al., Principles to Guide the Office of
                         Legal Counsel (Dec. 21, 2004)
58-21         Ex. U      David J. Barron, Memorandum for Attorneys of the
                         Office Re: Best Practices for OLC Legal Advice and
                         Written Opinions (Jul. 16, 2010)
58-22         Ex. V      Frank H. Easterbrook, Presidential Review, 40 CASE W.
                         RES. L. REV. 905 (1990)
58-23         Ex. W      Presidential Authority to Decline to Execute
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58-24         Ex. X      Douglas W. Kmiec, OLC’s Opinion Writing Function:
                         The Legal Adhesive for a Unitary Executive, 15
                         CARDOZO L. REV. 337 (1993)
58-25         Ex. Y      Applying Estoppel Principles in Criminal Cases, 78
                         YALE L.J. 1046 (1969)
58-26         Ex. Z      Anne Bowen Pouliun, Prosecutorial Inconsistency,
                         Estoppel, and Due Process: Making the Prosecution Get
                         its Story Straight, 18 Cal. L. Rev. 1423 (2001)
58-27        Ex. AA      Rex E. Lee, Executive Privilege, Congressional Subpoena
                         Power, and Judicial Review: Three Branches, Three
                         Powers, and Some Relationships, 1978 B.Y.U. L. REV.
                         231 (1978)
58-28         Ex. BB     John O. McGinnis, Models of the Opinion Function of the
                         Attorney General: A Normative, Descriptive, and
                         Historical Prolegomenon, 15 CARDOZO L. REV 375
                         (1993)
58-29         Ex. CC     Griffin B. Bell, The Attorney General: The Federal
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   58-30         Ex. DD      Notes, The Immunity-Conferring Power of the Office of
                             Legal Counsel, 121 HARV. L. REV. 2086 (2008)
   58-31          Ex. EE     U.S. Department of Justice, Criminal Resource Manual
                             § 2055 (Public Authority Defense)
 No Docket        Ex. FF     Grand Jury Materials (Filed Under Seal)
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  Pending        Ex. GG      Letter to Robert J. Costello, Esq. from Jonathan C. Su,
Docket Entry                 Esq., Deputy Counsel to the President (October 18, 2021)




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